

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0751-12






DERRIC CHARLES PHILLIPS, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE EIGHTH COURT OF APPEALS


 WICHITA COUNTY





		Per curiam.  Keasler, and Hervey, J.J., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3 (b)
and  68.4(I)  because the original petition is not accompanied by 11 copies and the
petition does not contain a copy of the opinion of the court of appeals

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered: October 10, 2012

Do Not Publish.


